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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


  STATE OF NEW JERSEY,

                      Plaintiff,                           Civil Action No. 23 Civ. 03885

                     v.                                    Hon. Leo M. Gordon

  UNITED STATES DEPARTMENT OF
  TRANSPORTATION, FEDERAL HIGHWAY
  ADMNISTRATION, SHAILEN BHATT, in his official
  capacity as Administrator of the Federal Highway
  Administration, and RICHARD J. MARQUIS, in his
  official capacity as Division Administrator of the New
  York Division of the Federal Highway Administration,

                      Defendants,

                      and

  THE METROPOLITAN TRANSPORTATION
  AUTHORITY, et al.,

                      Defendant-Intervenors.



                    ORDER GRANTING PRO HAC VICE ADMISSION

       This matter having come before the Court on the application of Kramer Levin Naftalis &

Frankel LLP, attorneys for amici curiae Environmental Defense Fund, New York League of

Conservation Voters, Tri-State Transportation Campaign, Riders Alliance, Open Plans, Real

Estate Board of New York, New York Lawyers for the Public Interest, WE ACT for

Environmental Justice, StreetsPAC, Transportation Alternatives, New York Public Interest

Research Group Fund, and Michael B. Gerrard (collectively, “amici”), for the admission of Dror
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Ladin, Esq., of Earth Justice, to appear pro hac vice on amici’s behalf pursuant to L. Civ. R.

101.1(c); with all parties consenting and the Court having considered the Certifications of

Cynthia Lovinger Siderman, Esq. and Dror Ladin, Esq., in accompaniment to the application and

in satisfaction of the requirements set forth in L. Civ. R. 101.1(c)(1), and for good cause shown,


       IT IS HEREBY ORDERED:

       (1)     Dror Ladin, Esq., of Earth Justice, is hereby granted admission pro hac vice to

               appear in this matter on behalf of amici in the same manner as attorneys

               authorized to practice law in this State; and it is further

       (2)     ORDERED that all pleadings, briefs, and other papers filed with the Court shall

               be signed by Cynthia Lovinger Siderman, Esq., attorney of record for amici, or

               by such other attorney who may appear as counsel of record for amici, who shall

               be responsible for the submission of the case and the attorneys admitted hereby;

               and it is further

       (3)     ORDERED that, in accordance with Local Civil Rule 101.1(c)(2), Dror Ladin,

               Esq. shall pay the annual fee to the New Jersey Lawyers’ Fund for Client

               Protection; and it is further

       (4)     ORDERED that, in accordance with Local Civil Rule 101.1(c)(3), Dror Ladin,

               Esq. shall pay $250.00 to the Clerk of the United States District Court for the

               District of New Jersey for admission pro hac vice; and it is further

       (5)     ORDERED that, in accordance with Local Civil Rule 101.1(c)(3), Dror Ladin,

               Esq. shall be bound by the Rules of the United States District Court for the

               District of New Jersey, including all disciplinary rules.




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This order is effective immediately.

Dated: January 2, 2025                             Entered:
                                                   /s/ Leo M. Gordon
                                                   The Honorable Leo M. Gordon
                                                   United States District Judge
                                                   For the District of New Jersey




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